              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
                       Plaintiff,     )
                                      )
        vs.                           )      No. 13-03054-09-CR-S-BCW
                                      )
STEVEN TYRONE MOAD,                   )
                                      )
                       Defendant.     )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One of the Superseding Indictment

filed on August      28, 2013.   After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in

Rule 11, I determined that the guilty plea was knowledgeable and

voluntary, and that the offense charged is supported by a factual

basis for each of the essential elements of the offense.        I therefore

recommend that the plea of guilty be accepted and that the Defendant

be adjudged guilty and have sentence imposed accordingly.



Date:     April 17, 2014               /s/ James C. England
                                      JAMES C. ENGLAND
                                      UNITED STATES MAGISTRATE JUDGE




    Case 6:13-cr-03054-BCW   Document 272   Filed 04/17/14   Page 1 of 2
                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




                                   2



    Case 6:13-cr-03054-BCW   Document 272   Filed 04/17/14   Page 2 of 2
